                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

ALLEN YOUNG,                                        )
                                                    )
               Petitioner,                          )
                                                    )
v.                                                  )       Nos: 3:02-CR-078
                                                    )            3:08-CV-302
UNITED STATES OF AMERICA,                           )            (VARLAN/SHIRLEY)
                                                    )
               Respondent.                          )


                                      MEMORANDUM

        This is a pro se motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

§ 2255 filed by petitioner Allen Young ("petitioner"). The government has filed its response

to the § 2255 motion and petitioner has filed his reply to the response. Petitioner has also

filed two motions to amend his § 2255 motion. The motions to amend will be DENIED. For

the following reasons, the § 2255 motion will be DENIED and this action will be

DISMISSED.

I.      Standard of Review

        This Court must vacate and set aside petitioner's conviction upon a finding that "there

has been such a denial or infringement of the constitutional rights of the prisoner as to render

the judgment vulnerable to collateral attack." 28 U.S.C. § 2255. To prevail under § 2255,

petitioner "must show a 'fundamental defect which inherently results in a complete

miscarriage of justice,' or, an error so egregious that it amounts to a violation of due process."




     Case 3:02-cr-00078-TAV-DCP         Document 1106        Filed 09/27/11      Page 1 of 25
                                        PageID #: 962
United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States,

368 U.S. 424, 428 (1968)).

         Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

District Courts, the Court is to determine after a review of the answer, and the records of the

case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

records of the case show conclusively that petitioner is not entitled to relief under § 2255,

there is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

1986).

II.      Factual Background

         Petitioner was a member of the Knoxville, Tennessee, branch of a crack gang known

as the Vice Lords. He was convicted by a jury of the following: conspiracy to distribute and

possess with intent to distribute 50 grams or more of a mixture of substance containing a

detectable amount of crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 846 (count

one of a second superseding indictment); aiding and abetting the possession of firearms in

furtherance of a drug trafficking offense, in violation of 18 U.S.C. §§ 924(c) and 2 (count

two); and felon in possession of ammunition, in violation of 18 U.S.C. § 922(g)(1) (count

seven). Petitioner was acquitted of possession with intent to distribute cocaine hydrochloride

(count five) and possession of a firearm in furtherance of a drug trafficking offense (count

six). He was sentenced to a term of imprisonment of 360 months on the conspiracy

conviction, a consecutive term of 60 months on the aiding and abetting conviction, and a



                                              2


      Case 3:02-cr-00078-TAV-DCP       Document 1106       Filed 09/27/11     Page 2 of 25
                                       PageID #: 963
term of 120 months on the felon in possession conviction, to be served concurrently with the

other terms of conviction, for a total effective sentence of 420 months.

       Petitioner's convictions were affirmed on direct appeal, but the case was remanded for

resentencing pursuant to United States v. Booker, 543 U.S. 220 (2005). United States v.

Young, 158 F. App'x 651 (6th Cir. November 15, 2005). Petitioner received the same

sentence on remand, which was affirmed. United States v. Young, 239 F. App'x 162 (6th Cir.

August 7, 2007). In support of his § 2255 motion, petitioner alleges numerous instances of

ineffective assistance of counsel; he also alleges that his sentence was imposed in violation

of the Constitution.

III.   Discussion

       A.     Ineffective Assistance of Counsel

       In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court established a

two-part standard for evaluating claims of ineffective assistance of counsel:

       First, the defendant must show that counsel's performance was deficient. This
       requires showing that counsel made errors so serious that counsel was not
       functioning as the "counsel" guaranteed the defendant by the Sixth
       Amendment. Second, the defendant must show that the deficient performance
       prejudiced the defense. This requires showing that counsel's errors were so
       serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

Id. at 687.

       To establish that his attorney was not performing "within the range of competence

demanded of attorneys in criminal cases," McMann v. Richardson, 397 U.S. 759, 771 (1970),

petitioner must demonstrate that the attorney's representation "fell below an objective


                                                 3


  Case 3:02-cr-00078-TAV-DCP             Document 1106         Filed 09/27/11      Page 3 of 25
                                         PageID #: 964
standard of reasonableness." Strickland v. Washington, 466 U.S. at 687-88. In judging an

attorney's conduct, a court should consider all the circumstances and facts of the particular

case. Id. at 690. Additionally, "a court must indulge a strong presumption that counsel's

conduct falls within the wide range of reasonable professional assistance; that is, the

defendant must overcome the presumption that, under the circumstances, the challenged

action 'might be considered sound trial strategy.'" Id. at 689 (quoting Michel v. Louisiana,

350 U.S. 91, 101 (1955)).

       The issue is whether counsel's performance "was so manifestly ineffective that defeat

was snatched from the hands of probable victory." United States v. Morrow, 977 F.2d 222,

229 (6th Cir. 1992) (en banc). Because he is seeking relief under § 2255, petitioner bears the

burden of proving by a preponderance of the evidence that his counsel was deficient. See

Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

       Petitioner alleges 16 specific claims of ineffective assistance of trial counsel and two

claims of ineffective assistance of appellate counsel, as paraphrased by the Court as follows.

The Court will consider each of the claims in turn.

              1.     Counsel failed to move for a severance.

       Petitioner was tried with co-defendants Walter Williams and Michael Smith. He

alleges his attorney should have filed a motion to sever his trial from that of his co-

defendants. Petitioner claims that evidence of drug activities and violence did not involve

him and that the presentation of such evidence against his co-defendants prejudiced his

defense.

                                              4


  Case 3:02-cr-00078-TAV-DCP          Document 1106        Filed 09/27/11     Page 4 of 25
                                      PageID #: 965
       "'[T]he general rule in conspiracy cases is that persons jointly indicted should be tried

together and that this is particularly true where the offenses charged may be established

against all of the defendants by the same evidence and which result from the same series of

acts.'" United States v. Hessling, 845 F.2d 617, 619 (6th Cir. 1988) (quoting United States

v. Dye, 508 F.2d 1226 (6th Cir. 1974)).

              A showing that a defendant would have a better chance of acquittal in
       a separate trial does not establish prejudice requiring severance. To show
       enough prejudice to require severance, a defendant must establish "substantial
       prejudice," "undue prejudice," or "compelling prejudice."

              Generally, persons indicted together should be tried together. Where
       the same evidence is admissible against all defendants, a severance should not
       be granted. However, severance is not required if some evidence is admissible
       against some defendants and not others. A defendant is not entitled to
       severance because the proof is greater against a co-defendant. Nor is a
       defendant entitled to a severance because a co-defendant has a criminal record.

              Hostility among defendants or the attempt of one defendant to save
       himself by inculpating another does not require that defendants be tried
       separately. Neither does a difference in trial strategies mandate separate trials.
       The burden is on defendants to show that an antagonistic defense would
       present a conflict "so prejudicial that defenses are irreconcilable, and the jury
       will unjustifiably infer that this conflict alone demonstrates that both are
       guilty."

United States v. Warner, 971 F.2d 1189, 1196 (6th Cir. 1992) (quoting United States v.

Davis, 623 F.2d 188, 194-95 (1st Cir. 1980)) (internal citations omitted). See also Zafiro v.

United States, 506 U.S. 534, 537-40 (1993); United States v. Breinig, 70 F.3d 850, 852-53

(6th Cir. 1995); United States v. Medina, 992 F.2d 573, 587 (6th Cir. 1993).

       If a defendant can establish that he would be prejudiced by a joint trial, "the district

court may, in its discretion, grant separate trials." United States v. Gibbs, 182 F.3d 408, 434

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  Case 3:02-cr-00078-TAV-DCP           Document 1106        Filed 09/27/11     Page 5 of 25
                                       PageID #: 966
(6th Cir. 1999) (citing Fed. R. Crim. P. 14). The federal court system, however, prefers joint

trials because they promote efficiency and avoid inconsistent verdicts. Zafiro v. United

States, 506 U.S. at 537. For that reason, a court "should grant a severance under Rule 14

only if there is a serious risk that a joint trial would compromise a specific trial right of one

of the defendants, or prevent the jury from making a reliable judgment about guilt or

innocence." Id. at 539.

       Petitioner does not articulate any particular trial right that was compromised by the

joint trial. The Sixth Circuit gave a brief summary of the evidence against the defendants as

follows:

              Defendants were arrested in 2002 for their participation in a crack
       cocaine conspiracy linked to the Knoxville branch of the Vice Lords gang. The
       government launched an investigation in 2001 after residents of a housing
       project in Knoxville complained about the gang. After a former member turned
       informant, agents obtained authorization to set up video surveillance of the
       gang's regular meeting place. Although Williams did not attend meetings
       because he was incarcerated, Young and Smith appeared in the resulting
       videotapes. In the course of its investigation, the government executed search
       warrants at the residences of both Young and Edward Howell, another member
       of the conspiracy. Drug trafficking equipment, cash, and firearms were
       recovered during these searches.

             Numerous arrests resulted from these investigations. Pursuant to plea
       agreements, several defendants testified at trial. Jahmal Tory, who lived with
       Young, testified that he, Williams, John Cotner, and Vincent Brown founded
       the Knoxville branch of the Vice Lords in 1999 and sought to secure a crack
       cocaine monopoly in the area. As the gang grew, most members supported
       themselves by selling crack. Gang members on occasion pooled their money
       in order to purchase large quantities of crack from suppliers. Members
       attempted to buy cocaine from each other as much as possible to "keep the
       money in the Nation." The gang collected a stash of firearms, at least some of
       which were stored at Smith's residence.


                                               6


  Case 3:02-cr-00078-TAV-DCP           Document 1106        Filed 09/27/11      Page 6 of 25
                                       PageID #: 967
              Among other things, the gang's weekly meetings entailed the collection
       of dues. The undercover videotapes depicted gang members identifying
       themselves at meetings by their street aliases and their rank in the gang. They
       also discussed drug trafficking and acquisition of firearms. On one videotape,
       Smith suggested a new "pat down" security measure for the meeting place.

             In recorded telephone conversations, Young and Williams talked about
       expanding their drug trafficking to other housing projects. Videotapes also
       showed that Tory asked Williams to sell drugs in North Carolina, and that
       members made an initial, failed attempt to do so.

              Witnesses described four violent drug-related incidents involving the
       gang. First, Smith shot Terry Moore when gang members tried to collect a
       drug debt. Second, gang member Jedaryll Chandler attempted to shoot Brian
       Whitman for not paying his gang "dues." Third, Williams and Chandler
       committed an armed robbery of a cocaine supplier. Fourth, Edwin Hyman, and
       Young, tried to shoot David Benton for acting as an informant while Smith
       served as the "look out."

              After Smith was jailed, a fellow inmate reported that Smith attempted
       to enlist the inmate to go find Moore and convince Moore to lie about the
       shooting at trial. Another inmate testified that Smith told him to testify that
       Smith did not sell drugs.

United States v. Young, 158 F. App'x at 652-53.

       Based upon the evidence at trial, petitioner was involved in all aspects of the gang's

activities. For example, Jahmal Tory testified that petitioner was one of the gang members

who obtained large quantities of cocaine; that petitioner was involved in trying to take over

the sale of crack in another housing project, specifically Western Heights, and had carried

guns in the projects; that petitioner sold crack from the house he shared with Tory; and that

the police recovered a gun holster, ammunition, and scales for weighing drugs belonging to

petitioner when their residence was searched. [Criminal Action No. 3:02-cr-78, Doc. 856,



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  Case 3:02-cr-00078-TAV-DCP          Document 1106       Filed 09/27/11    Page 7 of 25
                                      PageID #: 968
Transcript of Trial Proceedings on December 1, 2003, pp. 386-87, 413-19, 449-50, 451-57,

respectively].

       Scott Wilson testified that petitioner was a member of the Vice Lords when he,

Wilson, became a member; that he bought crack from petitioner, among others, and had been

with petitioner when petitioner cooked powder cocaine into crack; and that petitioner was

involved in planning the attempted execution of gang member David Benton, who was

suspected of being a snitch. [Doc. 860, Transcript of Trial Proceedings on December 9,

2003, pp. 1150, 1152-53, 1156-60, respectively].

       Charles Hardin also testified that petitioner was a member of the Vice Lords when he,

Hardin, became a member and that petitioner went by the nickname "Capone;" that petitioner

was one of the larger sources of cocaine that Hardin bought from and that they discussed

setting up shop in Western Heights; that he had seen petitioner cook powder cocaine into

crack; and that petitioner was involved in the plan to kill David Benton. [Id. at 1247-48,

1250-51, 1251-52, 1257-59, respectively].

       Petitioner's claim that the evidence of drug activity and violence did not involve him

is contradicted in the record. There was no basis for petitioner's attorney to have filed a

motion for severance and counsel was not ineffective in failing to do so. See United States

v. Hanley, 906 F.2d 1116, 1121 (6th Cir. 1990) (the failure of defense counsel to pursue

frivolous motions and objections cannot constitute ineffective assistance of counsel).

Petitioner is not entitled to relief on this claim.



                                                8


  Case 3:02-cr-00078-TAV-DCP            Document 1106     Filed 09/27/11    Page 8 of 25
                                        PageID #: 969
              2.     Counsel failed to request a mental competency evaluation for
                     petitioner.

       Petitioner alleges his attorney should have asked for a competency hearing to

determine that petitioner fully understood the nature of the proceedings against him. The

standard for determining whether a defendant's competence should be evaluated is "whether

the defendant has 'sufficient present ability to consult with his lawyer with a reasonable

degree of rational understanding' and has 'a rational as well as factual understanding of the

proceedings against him.'" Godinez v. Moran, 509 U.S. 389, 396 (1993) (quoting Dusky v.

United States, 362 U.S. 402, 402(1960)). There is nothing in the record to suggest that

petitioner was not competent to stand trial.

       In his Memorandum in support of the § 2255 motion, petitioner states he told counsel

after trial and during sentencing that he required a mental evaluation. [Doc. 1007,

Memorandum in Support of § 2255 Motion, p. 14]. During his initial sentencing, petitioner's

attorney asked that petitioner receive a full mental evaluation as soon as he came into the

custody of the Bureau of Prisons. [Doc. 834, Transcript of Proceedings on June 3, 2004, p.

27]. Petitioner then stated that he was on drugs while he was on the street. [Id.]. Petitioner

made no reference to his need for a mental evaluation during his resentencing hearing; he did

advise the court that since his incarceration he had completed the anger management class,

had obtained his GED, and was taking college correspondence courses with a major in

theology and a minor in business. [Doc. 928, Transcript of Proceedings on May 11, 2006,

pp. 10-11].


                                               9


  Case 3:02-cr-00078-TAV-DCP          Document 1106        Filed 09/27/11    Page 9 of 25
                                      PageID #: 970
       There is nothing in the record to suggest that petitioner was not competent to stand

trial. A court is only required to conduct a competency hearing where there is "substantial

evidence of a defendant's incompetency." Mackey v. Dutton, 217 F.3d 399, 411 (6th Cir.

2000). There being no evidence of petitioner's incompetence, petitioner’s counsel was not

ineffective in failing to request a competency hearing.

              3.      Counsel failed to renew the request for disclosure of the identities
                      of confidential informants.

       Counsel filed a pretrial motion requesting disclosure of the identities of confidential

informants that the government relied on in seeking authorization for electronic surveillance;

the motion was denied. On appeal, the Sixth Circuit noted that "[b]ecause defendant did not

renew his objection at trial, the standard of review is plain error. Plain error involves a legal

error that is obvious and that affects substantial rights." United States v. Young, 158 F. App'x

at 654 (internal citations omitted). The Sixth Circuit then declined to reverse the trial court's

denial of disclosure, finding that petitioner failed "to demonstrate how not disclosing the

informants affected the outcome of the proceedings." Id. Petitioner alleges counsel was

ineffective in failing to renew the motion at trial.

       The pretrial motion for disclosure was filed in connection with an attempt to suppress

the electronic surveillance [Doc. 278, Motion for Disclosure] and was properly denied. See

United States v. Raddatz, 447 U.S. 667, 679 (1980) (the Due Process Clause "has never been

held to require the disclosure of an informant's identity at a suppression hearing"). To the

extent the pretrial motion for disclosure was also a matter of trial preparation, a criminal


                                               10


  Case 3:02-cr-00078-TAV-DCP           Document 1106        Filed 09/27/11     Page 10 of 25
                                        PageID #: 971
defendant is not entitled to know the identities of confidential witnesses who are not expected

to testify at trial. Id.

        Petitioner does not allege how knowing the identities of the informants would have

assisted his defense or would have affected the outcome of the proceedings. As petitioner

acknowledges, he was convicted based upon the testimony of his co-defendants. Petitioner

has failed to demonstrate ineffective assistance of counsel in this regard.

                4.         Counsel failed to cross-examine two government witnesses.

        Petitioner alleges his attorney failed to cross-examine two cooperating witnesses,

specifically William Gant and Michael Johnson. William Gant testified that petitioner was

with Kenny when Gant sold drugs and that later he and Young had gotten into a verbal

altercation. [Doc. 832, Transcript of Trial Proceedings on December 10, 2003, pp. 29-30].

Michael Johnson testified that he had seen petitioner once, but denied petitioner was present

when he, Johnson, sold drugs. [Id. at 76]. Petitioner's attorney did not question either

witness.

        Petitioner claims counsel should have cross-examined Gant to establish that Gant had

never seen petitioner sell drugs. He also claims that counsel should have cross-examined

Johnson as to the capacity in which he knew petitioner. Given the brief testimony of the two

witnesses, regarding petitioner, it would appear that the decision not to cross-examine the

witnesses was trial strategy, which this Court will not second-guess. Petitioner has failed to

demonstrate ineffective assistance of counsel in this regard.



                                                11


  Case 3:02-cr-00078-TAV-DCP             Document 1106     Filed 09/27/11     Page 11 of 25
                                          PageID #: 972
              5.     Counsel failed to investigate and subpoena witnesses to testify on
                     petitioner's behalf.

       Petitioner alleges that his attorney failed to investigate potential witnesses and then

subpoena them to trial, specifically Tamera Clark, Pauline McDermont, and Vivian Jones.

According to petitioner, these witnesses could have impeached the testimony of the

government's witnesses with respect to petitioner's involvement in drugs, violence, and gang-

related activities. He also alleges that, although Nitra Brabson was subpoenaed, she was not

used as a defense witness. Petitioner does not state the manner in which these witnesses

could have impeached the government's witnesses nor how they otherwise could have

assisted the defense. Furthermore, in addition to the testimony of his co-defendants,

petitioner was also convicted on the basis of the electronic surveillance evidence. Because

petitioner has not shown that the testimony of Ms. Clark, Ms. McDermont, Ms. Jones, or Ms.

Brabson would have affected the outcome of the proceedings, he has failed to demonstrate

ineffective assistance of counsel in this regard.

              6.     Counsel failed to prepare alternative translations of taped
                     recordings used at trial.

       Petitioner claims that his attorney should have prepared alternative translations of

taped recordings that were played for the jury by the government. According to petitioner,

an alternative translation was required to provide the jury with his version of portions of the

recordings that were inaudible and confusing. Petitioner does not identify, however, any

errors in the government's transcripts and thus counsel was not ineffective in failing to

prepare alternative translations.

                                              12


  Case 3:02-cr-00078-TAV-DCP          Document 1106       Filed 09/27/11     Page 12 of 25
                                       PageID #: 973
              7.     Counsel failed to review taped recordings with petitioner for
                     purposes of impeaching government witnesses.

       Petitioner alleges that his attorney did not review the taped recordings with him in

order to identify the participants and be prepared to cross-examine his co-defendants as to

their identification of him. According to petitioner, he was convicted based upon the

testimony of co-defendants who falsely identified him. This claim overlooks the fact that

petitioner identified himself in the taped recordings. Petitioner has failed to demonstrate

ineffective assistance of counsel in this regard.

              8.     Counsel failed to play the entire taped recordings for the jury.

       Petitioner alleges that, had the jury heard the conversations without interruptions

instead of being forced to hear selected portions of the taped conversations that supported the

government's case, the jury would have concluded that no conspiracy existed. There is

nothing in the record to support this bald assertion and petitioner has failed to demonstrate

ineffective assistance of counsel in this regard.

              9.     Counsel failed to object to the government's method in disclosing
                     cooperating witnesses.

       Petitioner alleges that, during the course of the trial, the prosecutor provided counsel

with the names of the testifying witnesses, along with a copy of disclosure materials, just

prior to each witness taking the stand. According to petitioner, his attorney did not object

to this method of disclosure which he claims was designed to prevent effective cross-

examination of the witnesses.



                                              13


  Case 3:02-cr-00078-TAV-DCP          Document 1106       Filed 09/27/11     Page 13 of 25
                                       PageID #: 974
       The Sixth Circuit has held that the government is not required to provide the defense

with a list of its witnesses prior to trial. See United States v. Perkins, 994 F.2d 1184, 1190

(6th Cir. 1993) (citing Fed. R. Crim. P. 16); see also United States v. Davis, 306 F.3d 398,

420 (6th Cir. 2002) ("Defendant fails to point to any authority for the proposition that the

government was required pre-trial to disclose its witnesses."). Likewise, pursuant to the

Jencks Act, 18 U.S.C. § 3500, the government is not required to provide the defense with a

witness's statement until after the witness has testified on direct examination. See United

States v. Presser, 844 F.2d 1275, 1283(6th Cir. 1988) ("the government may not be

compelled to disclose Jencks Act material before trial"). Accordingly, any objection to the

government's method would have been frivolous and counsel was not ineffective in failing

to make such an objection.

              10.     Counsel failed to advise petitioner as to what pleas should be
                      entered and failed to communicate to petitioner any plea offers by
                      the government.

       Petitioner alleges his attorney failed to advise him as to what pleas should be entered

and failed to communicate to petitioner any plea offers by the government. Petitioner also

claims that counsel failed to pursue plea negotiations.

       Without question, a criminal defendant is entitled to know if the government has made

a plea offer. See, e.g., Guerrero v. United States, 383 F.3d 409, 416 (6th Cir. 2004) ("a

defense attorney's failure to communicate a plea offer to his or her client constitutes deficient

performance as a matter of law"); Johnson v. Duckworth, 793 F.2d 898, 902 (7th Cir. 1986)

(failure to inform a client of a plea offer "constitutes ineffective assistance of counsel under

                                               14


  Case 3:02-cr-00078-TAV-DCP           Document 1106        Filed 09/27/11     Page 14 of 25
                                        PageID #: 975
the sixth and fourteenth amendments"); United States ex rel. Caruso v. Zelinsky, 689 F.2d

435, 438 (3rd Cir. 1982) ("It would seem that, in the ordinary case, a failure of counsel to

advise his client of a plea bargain would constitute a gross deviation from accepted

professional standards.").

       As an attachment to its response to the § 2255 motion, the government has filed the

affidavit of David C. Jennings. [Doc. 1029, Attachment 1, Affidavit of David C. Jennings].

Mr. Jennings testifies that he is an Assistant United States Attorney and was responsible for

prosecuting petitioner and his co-defendants. [Id. at 1]. Mr. Jennings states unequivocally

as follows:

       There were no plea offers made by the government, and negotiations initiated
       by defendant's attorney would not have been entertained. The undersigned
       was fully aware of the defendant's violent criminal history and considered him
       to be a danger to the public. In addition, I reviewed the evidence in a Knox
       County, Tennessee homicide investigation in which Petitioner was a suspect.
       To my knowledge, Petitioner was never charged with that murder, but I
       believed, after reviewing the evidence, that Petitioner committed this murder.
       For these reasons, it was my intent to try Petitioner, convict him and seek the
       longest sentence possible for the safety of the public.

[Id. at 1-2].

       Because the government had not made any plea offer, petitioner's attorney was not

ineffective in failing to advise him concerning a plea offer.        Likewise, because the

government was not interested in negotiating a plea agreement with petitioner, counsel was

not ineffective in failing to pursue plea negotiations with the government.




                                             15


  Case 3:02-cr-00078-TAV-DCP         Document 1106       Filed 09/27/11       Page 15 of 25
                                      PageID #: 976
               11.    Counsel failed to advise petitioner about his right to testify and the
                      benefits and consequences of testifying.

       Petitioner alleges in his Memorandum in support of the § 2255 motion that his

attorney failed to advise him about his right to testify; in the same section he also alleges that,

while he chose not to testify, his decision was not based on counsel's advice as to the benefits

and consequences of testifying. [Doc. 1007, Memorandum in Support of § 2255 Motion, p.

27]. In his affidavit in support of the § 2255 motion, petitioner testifies that his attorney

discussed with him his right to testify, but did not discuss the advantages and disadvantages

of testifying. [Doc. 1010, Affidavit, p. 2, ¶ 13].

       A criminal defendant has a "fundamental constitutional right" to testify in his own

behalf, subject only to a knowing and voluntary waiver. Rock v. Arkansas, 483 U.S. 44, 53

n.10 (1987) (citations omitted). A claim that counsel failed to explain the benefits of

testifying does not, however, state a claim of ineffective assistance of counsel. See Walker

v. United States, No. 99-4105, 2000 WL 1871681 (6th Cir. 2000).

       The right of a defendant to testify at trial is a constitutional right of
       fundamental dimension and is subject only to a knowing and voluntary waiver
       by the defendant. Unaccompanied by coercion, however, legal advice
       concerning exercise of the right to testify infringes no right. Walker does not
       allege that he was unaware of his right to testify, that his attorney did not
       consult him about his decision whether or not to testify, or that his attorney
       intimidated him, threatened him, or otherwise interfered with his decision
       whether or not to testify. Rather, Walker merely asserts that counsel did not
       adequately advise him of the evidentiary value of his testimony. This assertion
       does not constitute a substantial showing that his defense counsel forbade him
       to testify. These allegations are insufficient to show that counsel's performance
       was in any way deficient.



                                                16


  Case 3:02-cr-00078-TAV-DCP            Document 1106        Filed 09/27/11      Page 16 of 25
                                         PageID #: 977
Id. at *2 (internal citations omitted). Petitioner has failed to demonstrate ineffective

assistance of counsel in this regard.

               12.    Counsel failed to investigate and prepare a viable defense.

       Petitioner alleges that his attorney did not investigate and develop a defense, and did

not call any witnesses or present any evidence in defense of petitioner. Petitioner does not,

however, list any witnesses1 or other evidence that would have rebutted the overwhelming

evidence against him. Petitioner's defense, as well as that of his co-defendants, was that the

Vice Lords were not involved in a drug conspiracy. Given the government's proof, this may

have been the only viable defense available to the defendants. As petitioner himself admitted

during sentencing, he did sell small quantities of drugs, but denied it was a conspiracy. [Doc.

834, Transcript of Proceedings on June 3, 2004, p. 27]. It is also worth noting also that

petitioner's defense was successful in securing acquittal of two of the charges against him.

Petitioner has failed to demonstrate ineffective assistance of counsel in this regard.

               13.    Counsel failed to request a special verdict regarding drug quantity.

       Petitioner alleges his attorney failed to request a special verdict regarding drug type

and quantity, in compliance with Apprendi v. New Jersey, 530 U.S. 466 (2000). In Apprendi,

the Supreme Court considered an enhanced punishment for a firearm conviction under New

Jersey's hate crime statute, and held: "Other than the fact of a prior conviction, any fact that



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         In claim number five, petitioner lists four witnesses that he claims could have impeached
the testimony of his co-defendants, but does not state what the substance of their testimony would
have been.

                                               17


  Case 3:02-cr-00078-TAV-DCP            Document 1106       Filed 09/27/11      Page 17 of 25
                                         PageID #: 978
increases the penalty for a crime beyond the prescribed statutory maximum must be

submitted to the jury, and proved beyond a reasonable doubt." Id. at 490.

       In petitioner's case, the second superseding indictment charged him, inter alia, with

conspiring to possess with intent to distribute 50 grams of crack cocaine. [Doc. 211, Second

Superseding Indictment, Count One, pp. 2-3]. The jury found him guilty of count one of the

superseding indictment. [Doc. 624, Verdict Form, pp. 1-2]. At the time of petitioner's

conviction and sentencing, the offense carried a statutory maximum penalty of life

imprisonment. 21 U.S.C. § 841(b)(1)(A)(iii) (2006).

       The Court determined that the conspiracy involved at least 1.5 kilograms of cocaine

base, and that petitioner was accountable for that amount. [Doc. 928, Transcript of

Proceedings on May 11, 2006, p. 12]. Because the Court's finding regarding drug quantity

did not increase the applicable statutory maximum penalty, and because petitioner was

sentenced to 360 months on that conviction, his sentence did not violate Apprendi. Counsel

did not render ineffective assistance in failing to request a special verdict.

              14.     Counsel failed to object to the drug type and quantity for which
                      petitioner was held accountable for and not found by the jury.

       In a related claim, petitioner alleges he was held responsible for drug quantities in

excess of that charged in the indictment, to which counsel did not object. He again relies on

Apprendi.    For the reasons stated in the preceding section, petitioner has failed to

demonstrate ineffective assistance of counsel in this regard. Additionally, the Court notes




                                              18


  Case 3:02-cr-00078-TAV-DCP          Document 1106        Filed 09/27/11        Page 18 of 25
                                       PageID #: 979
that counsel did, in fact, object to petitioner' drug quantity determination. [Doc. 746,

Objections to Presentence Report, p. 2, ¶¶ 10 and 11].

              15.    Counsel failed to file a motion for downward departure under the
                     guidelines.

       Petitioner alleges his attorney should have filed a motion for downward departure

pursuant to U.S.S.G. § 4A1.3(b)(1), which provides: "If reliable information indicates that

the defendant's criminal history category substantially over-represents the seriousness of the

defendant's criminal history or the likelihood that the defendant will commit other crimes,

a downward departure may be warranted." Petitioner's criminal history category, however,

correctly assessed the seriousness of his criminal history.

       Petitioner's criminal history category was initially determined to be IV, based upon

8 criminal history points, and was enhanced to VI because he is a career offender. U.S.S.G.

§4B1.1(a) & (b). [Presentence Investigation Report, p. 24, ¶ 97]. The career offender status

was based upon two prior violent felonies, specifically second degree burglary and armed

robbery. [Id. ¶ 98]. In addition, the instant offense was committed less than two years after

his release on the armed robbery conviction. [Id. ¶ 96].

       Based upon petitioner's criminal history of violent felonies and his risk of recidivism,

counsel was not ineffective in failing to file a motion for downward departure. See United

States v. Vasquez-Duarte, 59 F. App'x 625, 629 (6th Cir. Feb. 12, 2003) ("Considering the

evidence concerning appellant's criminal record, we cannot find that appellant was prejudiced

by counsel's failure to request a downward departure from his criminal history category.


                                              19


  Case 3:02-cr-00078-TAV-DCP          Document 1106        Filed 09/27/11    Page 19 of 25
                                       PageID #: 980
Appellant's criminal history includes convictions for serious offenses, and demonstrates a

significant risk of recidivism.").

              16.     Appellate counsel failed to fully brief a meritorious issue.

       This claim relates to petitioner's claim number three, regarding counsel's failure to

renew the motion for disclosure of the identities of the confidential informants. For the

reasons set forth in the discussion of claim number three, supra, petitioner has failed to

demonstrate ineffective assistance of counsel in this regard.

              17.     Appellate counsel was grossly ineffective on direct appeal following
                      remand.

       This claim relates to the appeal of petitioner's resentencing after remand in light of

Booker. The Sixth Circuit first noted:

               We review a defendant's sentence for reasonableness, crediting a
       sentence within the Guidelines range with a presumption of reasonableness.
       Reasonableness encompasses both a substantive and a procedural component.
       "A sentence may be considered substantively unreasonable when the district
       court selects the sentence arbitrarily, bases the sentence on impermissible
       factors, fails to consider pertinent § 3553(a) factors or gives an unreasonable
       amount of weight to any pertinent factor." Procedural reasonableness requires
       that the sentencing court adequately consider the § 3553(a) factors, including
       a correctly calculated Guidelines range.

United States v. Young, 239 F. App'x at 166 (quoting United States v. Collington, 461 F.3d

805, 808 (6th Cir. 2006) (internal quotations marks, brackets, and citation omitted)) (other

internal citations omitted).

       The Sixth Circuit then considered petitioner's sentence.

              Young confines his argument, quite literally, to four sentences:


                                             20


  Case 3:02-cr-00078-TAV-DCP         Document 1106       Filed 09/27/11     Page 20 of 25
                                      PageID #: 981
              Under Booker the District Court had the ability to sentence
              Appellant to a sentence within the guideline range or outside of
              it. The District Court chose to sentence Appellant to a total of
              420 months. Appellant believes that although he should be
              punished for the acts he committed, he believes that the District
              Court's sentence does not fit the crime. In essence Appellant
              believes that his sentence is unreasonable under Booker.

               This unusually terse argument implicates the rule that "issues adverted
       to in a perfunctory manner, unaccompanied by some effort at developed
       argumentation, are deemed waived." As we presume Young's within
       Guidelines-range sentence reasonable, and as Young makes no attempt to rebut
       this presumption, we affirm.

Id. (quoting United States v. Layne, 192 F.3d 556, 566 (6th Cir.1999)). Petitioner quotes the

foregoing language from the Sixth Circuit's opinion to support his claim that counsel was

ineffective on appeal after remand.

       The district court sentenced petitioner to 420 months based upon the nature and

circumstances of the offense, petitioner's criminal history and prior characteristics,

consideration of the advisory guidelines, and the factors listed in 18 U.S.C. § 3553(a). [Doc.

928, Transcript of Proceedings on May 11, 2006, p. 12]. The Court found "that the advisory

guideline range is reasonable and sufficient to reflect the seriousness of [petitioner's] offense

and promote respect for the law and provide just punishment to protect the public from future

crimes by [petitioner]." [Id. at 12-13].

       Petitioner has made no showing that he suffered any prejudice from counsel's alleged

deficient performance, nor does he allege that he would have succeeded on appeal had

counsel made a stronger argument. Petitioner received a sentence which was at the lower

end of the advisory guideline sentence range and he has presented no evidence to rebut the

                                               21


  Case 3:02-cr-00078-TAV-DCP           Document 1106        Filed 09/27/11     Page 21 of 25
                                        PageID #: 982
presumption that his sentence was reasonable.         Petitioner has failed to demonstrate

ineffective assistance of counsel in this regard.

       Based upon the foregoing, and with respect to his numerous claims of attorney error,

petitioner has failed to demonstrate that he received ineffective assistance of counsel under

either prong of the Strickland standard.

       B.     Unconstitutional Sentence

       Petitioner alleges that his enhanced sentence was based on prior state convictions that

were entered in violation of the United States Constitution. According to petitioner, he has

mounted a challenge to his prior convictions in the appropriate state courts.

       In Custis v. United States, 511 U.S. 485 (1994), the Supreme Court held that neither

18 U.S.C. § 924(e) nor the Constitution permits a defendant to collaterally attack the validity

of previous state convictions that are used to enhance his sentence under the Armed Career

Criminal Act "with the sole exception of convictions obtained in violation of the right to

counsel." Id. at 487. See also United States v. Bureau, 52 F.3d 584, 594 (6th Cir. 1995)

("Here, Bureau was represented by counsel in the proceedings related to his prior convictions

and therefore cannot meet the Supreme Court's narrow exception."). Accordingly, a

defendant cannot use a § 2255 proceeding to challenge the validity of prior state convictions

that were used to enhance his federal sentence. Smith v. United States, 262 F.3d 537 (6th Cir.

2001); Turner v. United States, 183 F.3d 474 (6th Cir. 1999).

       Petitioner concedes that he has not yet successfully challenged his prior state

convictions but asks the Court for leave to litigate this claim after he has done so. To the

                                              22


  Case 3:02-cr-00078-TAV-DCP          Document 1106       Filed 09/27/11     Page 22 of 25
                                       PageID #: 983
extent petitioner is asking the Court to stay these proceedings or to toll the statute of

limitation as to this claim, the Court will do neither. The Court notes, however, that in

Johnson v. United States, 544 U.S. 295 (2005), the Supreme Court held that notice to a

federal prisoner of an order vacating his prior state conviction that was used to enhance the

prisoner's federal sentence was a matter of fact under § 2255(f)(4), which could start a

renewed one-year limitation period under § 2255, provided that the prisoner has shown due

diligence in seeking the order of vacatur. Id. at 302 (emphasis added).

       C.     Motions to Amend

       Petitioner's first motion to amend the § 2255 raises a claim under United States v.

Almany, 598 F.3d 238 (6th Cir.), vacated and remanded, 131 S. Ct. 637 (2010). Almany was

vacated and remanded in light of Abbott v. United States, 131 S. Ct. 18 (2010), and is no

longer good law. See United States v. Almany, 626 F.3d 901 (2010). Accordingly,

petitioner's first motion to amend the § 2255 will be DENIED as MOOT.

       Petitioner has also filed a second motion to amend the § 2255 motion to state an

additional claim of ineffective assistance of counsel, namely that counsel failed to file a

motion to dismiss the indictment based upon a violation of the Speedy Trial Act. For the

following reasons, the second motion to amend is time-barred and will be denied.

       Under the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), a federal

prisoner has one year in which to file a § 2255 motion. The limitation period generally runs

from the date on which the judgment of conviction becomes final. Because petitioner did not

file a petition for a writ of certiorari, his judgment of conviction became final on November

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  Case 3:02-cr-00078-TAV-DCP         Document 1106       Filed 09/27/11     Page 23 of 25
                                      PageID #: 984
5, 2007, which was the date on which the 90-day period for seeking certiorari review expired.

See Clay v. United States, 537 U.S. 522, 525 (2003) ("a judgment of conviction becomes

final when the time expires for filing a petition for certiorari contesting the appellate court's

affirmation of the conviction").

        Petitioner timely filed his original § 2255 motion on August 4, 2008. [Doc. 1006].

The second motion to amend was filed on August 15, 2011. [Doc. 1105]. The question,

then, is whether the motion to amend is timely because it "relates back" to the original filing

date.

        "An amended habeas petition, we hold, does not relate back (and thereby escape

AEDPA's one-year time limit) when it asserts a new ground for relief supported by facts that

differ in both time and type from those the original pleading set forth." Mayle v. Felix, 545

U.S. 644, 640 (2005). See also Oleson v. United States, 27 F. App'x 566, 571, 2001 WL

1631828 *3 (6th Cir. December 14, 2001) ("Oleson's amendment does not escape the

AEDPA statute of limitations by 'relating back' to previous claims -- Oleson's amendment

raises an entirely new argument").

        Petitioner's second motion to amend raises a new claim of ineffective assistance of

counsel which is unrelated to his original claims of ineffective assistance. His new allegation

of ineffective assistance of counsel does not relate back to the original pleading, is

time-barred, and will not be considered by the Court.




                                               24


  Case 3:02-cr-00078-TAV-DCP           Document 1106        Filed 09/27/11     Page 24 of 25
                                        PageID #: 985
IV.    Conclusion

       Petitioner's motions to amend will be DENIED. Petitioner is not entitled to relief

under § 2255 and his motion to vacate, set aside or correct sentence will be DENIED. This

action will be DISMISSED. In addition to the above, this Court CERTIFIES that any

appeal from this action would not be taken in good faith and would be totally frivolous.

Therefore, this Court will DENY petitioner leave to proceed in forma pauperis on appeal.

See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to make

a substantial showing of the denial of a constitutional right, a certificate of appealability

SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate

Procedure.


       AN APPROPRIATE ORDER WILL ENTER.



                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




                                             25


  Case 3:02-cr-00078-TAV-DCP         Document 1106       Filed 09/27/11     Page 25 of 25
                                      PageID #: 986
